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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ALEXANDER WILLIAMS,                                Civil No. 3:24-cv-77

              Plaintiff                            (Judge Mariani)

       V.

WARDEN DAVE WAPINSKY,
C.O. MATTHEW DONNELLY,

              Defendants

                                           ORDER

       AND NOW, this .---z/4-ri y of April, 2024, upon consideration of Defendants'

motion (Doc. 13) to dismiss, and the parties' respective briefs in support of and in opposition

to said motion, and for the reasons set forth in the accompanying Memorandum, IT IS

HEREBY ORDERED THAT:

       1.     The motion (Doc. 13) is GRANTED. The complaint (Doc. 1) is DISMISSED
              for failure to state a claim upon which relief may be granted.

       2.     The Clerk of Court is directed to CLOSE this case.

       3.     Any appeal from this Order is deemed frivolous and not taken in good faith.
              See 28 U.S.C. § 1915(a)(3).




                                           Robert D. Mariani
                                           United States District Judge
